IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF NORTH CAROLINA
EASTERN DIVISION
No. 4:23-cv-00200-FL

)
LARRY MURPHY,
Plaintiff,
) AMENDED JOINT STIPULATION OF
v. ) DISMISSAL WITH PREJUDICE
ARAMARK CAMPUS, LLC,
Defendant.

Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiff Larry
Murphy and Defendant Aramark Campus, LLC hereby stipulate to the dismissal of the above-

referenced action with prejudice in its entirety, with each party to bear the party’s own attorneys’

fees and costs. 2' St

gspectfully Submitted this [O%s of February, 2025.

/s/ Alyssa Riggins

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CERTIFICATE OF SERVICE

I hereby certify that on, on the date indicated herein, the foregoing document was
electronically filed via the Court’s ECF filing system and served on the following via United States
mail, first class, postage prepaid to:

Larry F. Murphy, Pro Se Plaintiff
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a
This the Wh, of February, 2025.

/s/ Alyssa Riggins

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